                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management conference was scheduled at 3:00 p.m. on April 11, 2011, to consider Plaintiffs' appeal. On March 18, 2011, the court sent notice of the scheduled case management conference to Plaintiffs at mhgaroutte@hotmail.com, which is the email address Plaintiffs provided to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiffs did not appear, the court might dismiss the appeal.
On April 11, 2011, the court sent Plaintiffs a letter which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiffs did not provide a written explanation by April 26, 2011, for their failure to appear, the court would dismiss the appeal. As of this date, Plaintiffs have not submitted a *Page 2 
written response to the court explaining their failure to appear at the April 11, 2011, case management conference. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this __ day of April 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Dan Robinsonon April 29, 2011. The Court filed and entered this documenton April 29, 2011. *Page 1 